Plene administravit, whenever put in, relates to the day of service of the writ; at least it must state that on the day of exhibiting the plaintiff's demand by writ the defendant had fully administered, or at least that the writ was first served on such a day, before which day he had no notice, and that before that day he had fully administered, etc. This plea should be received at all times, provided the defendant does not come in with it at a very late period, and thereby delay the trial; otherwise, the defendant might be subjected to pay the debt out of his own estate, when perhaps he had in fact no goods to be administered on wherewithal to pay it.
The plea was admitted.
See Sawyer v. Sexton, 3 N.C. 67; Reid v. Hester, 1 N.C. 603.
(485)